19-10384-shl     Doc 261      Filed 03/26/19     Entered 03/26/19 19:30:16          Main Document
                                               Pg 1 of 24


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                           Chapter 11

TRIDENT HOLDING COMPANY, LLC, et al.,                           Case No. 19-10384 (SHL)

               Debtors.1                                        (Jointly Administered)


    GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
      AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
    ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        On February 10, 2019 (the “Petition Date”), FC Pioneer Holding Company, LLC
(“FC Pioneer”), along with twenty-two (22) affiliated debtor entities (each a “Debtor”
and, collectively, the “Debtors”), each commenced voluntary cases under chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).

       The Debtors continue to operate their businesses and manage their properties as
debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the
Bankruptcy Code. The Debtors’ cases (collectively, the “Chapter 11 Cases”) have been
consolidated for procedural purposes only and are being jointly administered under
case number 19-10384 (SHL).

       The Schedules of Assets and Liabilities (the “Schedules”) and Statements of
Financial Affairs (the “Statements” and, together with the Schedules, the “Schedules
and Statements”) were prepared pursuant to Bankruptcy Code section 521 and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by the
Debtors’ management using unaudited information available as of the Petition Date.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of,

1
    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax
    identification numbers, are as follows: Trident Holding Company, LLC (6396); American Diagnostics
    Services, Inc. (2771); Community Mobile Diagnostics, LLC (9341); Community Mobile Ultrasound,
    LLC (3818); Diagnostic Labs Holdings, LLC (8024); FC Pioneer Holding Company, LLC (6683); JLMD
    Manager, LLC (8470); Kan-Di-Ki LLC (6100); Main Street Clinical Laboratory, Inc. (0907); MDX-MDL
    Holdings, LLC (2605); MetroStat Clinical Laboratory – Austin, Inc. (4366); MX Holdings, LLC (8869);
    MX USA, LLC (4885); New Trident Holdcorp, Inc. (4913); Rely Radiology Holdings, LLC (3284);
    Schryver Medical Sales and Marketing, LLC (9620); Symphony Diagnostic Services No. 1, LLC (8980);
    Trident Clinical Services Holdings, Inc. (6262); Trident Clinical Services Holdings, LLC (1255);
    TridentUSA Foot Care Services LLC (3787); TridentUSA Mobile Clinical Services, LLC (0334);
    TridentUSA Mobile Infusion Services, LLC (5173); U.S. Lab & Radiology, Inc. (4988). The address of
    the Debtors’ corporate headquarters is 930 Ridgebrook Road, 3rd Floor, Sparks, MD 21152.
19-10384-shl   Doc 261     Filed 03/26/19     Entered 03/26/19 19:30:16      Main Document
                                            Pg 2 of 24


each of the Debtor’s Schedules, sub-Schedules, Statements, sub-Statements, exhibits,
and continuation sheets, and should be referred to in connection with any review of the
Schedules and Statements. Disclosure of information in one Schedule, sub-Schedule,
Statement, sub- Statement, exhibit, or continuation sheet, even if incorrectly placed,
shall be deemed to be disclosed in the correct Schedule, Statement, exhibit, or
continuation sheet.

      The Schedules and Statements and these Global Notes should not be relied
upon by any persons for information relating to current or future financial
conditions, events, or performance of any of the Debtors.

Reservation of Rights. The Debtors’ Chapter 11 Cases are large and complex. The
Debtors’ management has made every reasonable effort to ensure that the Schedules
and Statements are as accurate and complete as possible based on the information that
was available to them at the time of preparation. Subsequently discovered information
may result in material changes to these Schedules and Statements, and inadvertent
errors or omissions may have occurred. Because the Schedules and Statements contain
unaudited information, which is subject to further review, verification, and potential
adjustment, there can be no assurance that these Schedules and Statements are accurate
and/or complete.

The Debtors have made reasonable efforts to characterize, classify, categorize, or
designate the claims, assets, executory contracts, unexpired leases, and other items
reported in the Schedules and Statements correctly. Due to the complexity and size of
the Debtors’ businesses, however, the Debtors may have improperly characterized,
classified, categorized, or designated certain items. In addition, certain items reported
in the Schedules and Statements could be included in more than one category. In
certain of these instances, one category has been chosen to avoid duplication. Further,
the designation of a category is not meant to be wholly inclusive or descriptive of the
rights or obligations represented by such item.

Nothing contained in the Schedules and Statements or these Global Notes shall
constitute an admission or a waiver of rights by the Debtors with respect to these
Chapter 11 Cases, including, but not limited to, any issues involving substantive
consolidation for plan purposes, subordination, and/or causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code and other relevant nonbankruptcy
laws to recover assets or avoid transfers. For the avoidance of doubt, listing a claim on
Schedule D as “secured,” on Schedule E as “priority,” on Schedule E/F as “unsecured
priority,” or listing a contract or lease on Schedule G as “executory” or “unexpired,”
does not constitute an admission by the Debtors of the legal rights of the claimant
and/or contractual counterparty, or a waiver of a Debtor’s right to recharacterize or
reclassify such claim or contract. Failure to designate a claim on a given Debtor’s
Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the Debtors that such amount is not “disputed,” “contingent,” or
“unliquidated” or that such claim is not subject to objection. The Debtors reserve their
respective rights to dispute, or assert offsets, setoffs, or defenses to, any claim reflected
on the Schedules and Statements as to the nature, amount, liability, or status or to
otherwise subsequently designate any claim as disputed, contingent, and/or
unliquidated.

                                               2
19-10384-shl   Doc 261    Filed 03/26/19     Entered 03/26/19 19:30:16     Main Document
                                           Pg 3 of 24


Reporting Date. Each Debtor’s fiscal year ends on December 31. Unless otherwise
noted, the Debtors’ assets are valued as of January 31, 2019, and the Debtors’ liabilities
are valued as of the Petition Date.

Basis of Presentation. The Debtors record and report results of operations and
financial transactions at the operating entity level, which does not always correspond
to, or reflect activity at, an individual Debtor. In certain instances, the operating entity
where transactions are recorded represents the financial activities of multiple Debtors.
For example, the books and records maintained at the operating entity “Diagnostic
Laboratories” or “DL” (which is a d/b/a for the Debtor Kan-Di-Ki LLC) represents the
activity of four separate Debtors: Community Mobile Diagnostics, LLC (9341);
Community Mobile Ultrasound, LLC (3818); MDX-MDL Holdings, LLC (2605); and
Kan-Di-Ki LLC (6100). Because the financial information and detail is not presently
available to report for each individual Debtor, the responses for these four Debtors and
are reflected on the Kan-Di-Ki LLC (6100) Statements. Likewise, the financial
information reported at the operating entity “Schryver” or “SM2” (which is a d/b/a for
the Debtor Schryver Medical Sales and Marketing, LLC) represents the activity of three
Debtors: Main Street Clinical Laboratory, Inc. (0907); MetroStat Clinical Laboratory –
Austin, Inc. (4366); and Schryver Medical Sales and Marketing, LLC (9620). The
activity for these three Debtors are reflected on the Schryver Medical Sales and
Marketing, LLC (9620) Statements. Seven of the Debtors (American Diagnostics
Services, Inc. (2771), JLMD Manager, LLC (8470), MX USA, LLC (4885), Symphony
Diagnostic Services No. 1, LLC (8980), TridentUSA Mobile Clinical Services, LLC (0334),
TridentUSA Mobile Infusion Services, LLC (5173), and U.S. Lab & Radiology, Inc.
(4988)) maintain separate books and records. The remaining nine Debtors (FC Pioneer
Holding Company, LLC (6683), Trident Holding Company, LLC (6396), New Trident
Holdcorp, Inc. (4913), MX Holdings, LLC (8869), Diagnostic Labs Holdings, LLC (8024),
Rely Radiology Holdings, LLC (3284), Trident Clinical Services Holdings, Inc. (6262),
Trident Clinical Services Holdings, LLC (1255), and TridentUSA Foot Care Services LLC
(3787)) have no business activity and therefore do not maintain books and records.

The Schedules and Statements are unaudited. Unlike the historical
consolidated financial statements, the Schedules and Statements generally reflect the
assets and liabilities on a non-consolidated basis as described above. Accordingly, the
amounts listed in the Schedules and Statements will likely differ, at times
materially, from the consolidated financial reports.

Although the Schedules and Statements may, at times, incorporate information
prepared in accordance with United States generally accepted accounting principles
(“GAAP”), the Schedules and Statements neither purport to represent nor reconcile to
financial statements otherwise prepared and/or distributed by the Debtors in
accordance with GAAP or otherwise.

Currency. All amounts are reflected in U.S. dollars, unless otherwise indicated.

Estimates and Assumptions. The preparation of the Schedules and Statements
required the Debtors to make estimates and assumptions that affected the reported
amounts of certain assets and liabilities, the disclosure of certain contingent assets and


                                              3
19-10384-shl   Doc 261    Filed 03/26/19     Entered 03/26/19 19:30:16    Main Document
                                           Pg 4 of 24


liabilities, and the reported amounts of revenue and expense. Actual results could
differ materially from these estimates.

Totals. All totals that are included in the Schedules and Statements represent totals of
all known amounts. To the extent there are unknown or undetermined amounts, the
actual totals may be different than the listed totals.

Undetermined or Unknown Amounts. The description of an amount as
“Undetermined” or “Unknown” is not intended to reflect upon the materiality of such
amount. Certain amounts may be clarified during the course of the Chapter 11 Cases.

Asset Presentation and Valuation. The Debtors’ assets are presented at values
consistent with their books and records. These values do not purport to represent the
ultimate value that would be received in the event of a sale, and may not represent
economic value as determined by an appraisal or other valuation technique. As it
would be prohibitively expensive and an inefficient use of estate assets for the Debtors
to obtain current economic valuations for all of their assets, unless otherwise noted, the
carrying value on the Debtors’ books (e.g., net book value), rather than current
economic value, is reflected on the Schedules and Statements.

Contingent Assets and Causes of Action. Despite their reasonable efforts to identify
all known assets, the Debtors may not have listed all of their causes of action or
potential causes of action against third parties as assets in their Schedules and
Statements, including, but not limited to, avoidance actions arising under chapter 5 of
the Bankruptcy Code and actions under other relevant nonbankruptcy laws to recover
assets. The Debtors reserve all of their rights with respect to any claims, causes of
action, or avoidance actions they may have, and neither these Global Notes nor the
Schedules and Statements shall be deemed a waiver of any such claims, causes of
actions, or avoidance actions or in any way prejudice or impair the assertion of such
claims.

The Debtors may also possess contingent and unliquidated claims against affiliated
entities (both Debtor and non-Debtor) for various financial accommodations and similar
benefits they have extended from time to time, including, but not limited to, contingent
and unliquidated claims for contribution, reimbursement, and/or indemnification
arising from various (a) guarantees, (b) indemnities, (c) tax-sharing agreements,
(d) warranties, (e) operational and servicing agreements, (f) shared service agreements,
and (g) other arrangements.

Additionally, prior to the Petition Date, each Debtor may have commenced various
lawsuits in the ordinary course of its business against third parties seeking monetary
damages for business-related losses. Refer to Statement Question 7 for each Debtor or
corresponding attachment for a list of lawsuits commenced prior to the Petition Date in
which the Debtor was a plaintiff, except as noted below.

Pledged Assets. A significant amount of the assets listed on the Debtors’ Schedule A/B
have been pledged as collateral by the Debtors. These assets include, among other
things, cash, securities, inventories, equipment, equity interests in subsidiaries, and
other related assets.

                                              4
19-10384-shl    Doc 261    Filed 03/26/19     Entered 03/26/19 19:30:16     Main Document
                                            Pg 5 of 24


Liabilities. Some of the scheduled liabilities are unknown, contingent, and/or
unliquidated at this time. In such cases, the amounts are listed as “Unknown” or
“Undetermined.” Accordingly, the Schedules and the Statements may not equal the
aggregate value of the Debtors’ total liabilities as noted on any previously issued
financial statements.

The Debtors have sought to allocate liabilities between the prepetition and postpetition
periods based on the information and research that was conducted in connection with
the preparation of the Schedules and Statements. As additional information becomes
available and further research is conducted, the allocation of liabilities between
prepetition and postpetition periods may change. The Debtors reserve the right to, but
are not required to, amend the Schedules and Statements as they deem appropriate to
reflect this.

The liabilities listed on the Schedules and Statements do not reflect any analysis of
claims under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors
reserve all rights to dispute or challenge the validity of any asserted claims under
section 503(b)(9) of the Bankruptcy Code or the characterization of the structure of any
such transaction or any document or instrument related to any creditor’s claim.

Excluded Assets and Liabilities. The Debtors believe that they have identified, but did
not necessarily value, all material categories of assets and liabilities in the Schedules.
The Debtors have excluded the following items which may be included in their GAAP
financial statements from the Schedules: certain accrued liabilities, including, without
limitation, accrued salaries, employee benefit accruals, and certain other accruals, trusts,
certain prepaid and other current assets considered to have no market value, and
deferred gains. The Debtors also have excluded rejection damage claims of
counterparties to executory contracts and unexpired leases that may be rejected, to the
extent such damage claims exist. Other immaterial assets and liabilities may also have
been excluded.

Confidentiality. Addresses of current and former employees (including directors and
officers) of the Debtors are generally not included in the Schedules and Statements.
Notwithstanding, the Debtors will mail any required notice or other documents to the
address in their books and records for such individuals.

Specific disclosure of certain claims, names, addresses, or amounts may be subject to
certain disclosure restrictions contained in the Health Insurance Portability and
Accountability Act of 1996 (“HIPAA”), or otherwise, and in any event, are of a
particularly personal and private nature. On February 12, 2019, the Court entered the
Order Authorizing Certain Procedures to Maintain and Protect the Confidentiality of Patient
Information as Required by Applicable Privacy Rules [Docket No. 40] (the “Privacy
Procedures Order”) establishing certain Privacy Procedures (as defined in the Privacy
Procedures Order). With respect to the Schedules and Statements, the Privacy
Procedures Order provides that:

               (b)    the Debtors shall identify current or former patients
               in the Schedules and Statements solely by a code number,
               such as “Patient 1,” “Patient 2,” and so forth, and shall make

                                               5
19-10384-shl    Doc 261    Filed 03/26/19     Entered 03/26/19 19:30:16   Main Document
                                            Pg 6 of 24


               an unredacted copy of the Schedules and Statements
               available to (i) the Court and to the United States Trustee
               upon request; and (ii) any other party-in-interest only after
               this Court has entered an order, after notice and a hearing,
               authorizing the Debtors or the Claims and Noticing Agent to
               do so.

Privacy Procedures Order ¶ 2(b). In accordance with HIPAA and the Privacy
Procedures Order, to the extent the Debtors believe a claim, name, address, or amount
falls under the purview of HIPAA or includes information that is personal or private in
nature, such claims, names, addresses, or amounts, as applicable, have been redacted.

Intercompany Transactions. Prior to the Petition Date (and subsequent to the Petition
Date but only pursuant to Bankruptcy Court approval), the Debtors routinely engaged
(and continue to engage) in intercompany transactions with both Debtor and non-
Debtor subsidiaries and affiliates. The Debtors have historically maintained their books
and records on a regional or product-line basis rather than a legal-entity basis.
Accordingly, Debtor entity-level information regarding intercompany transactions is
not reflected in the Schedules where such information is unavailable. The Debtors and
their professional advisors are continuing to work through the thousands of
intercompany transactions among and between the Debtors and their non-Debtor
subsidiaries and affiliates.

Bankruptcy Court First-Day Orders. The Bankruptcy Court has authorized the
Debtors to pay various outstanding prepetition claims, including, but not limited to,
payments relating to the Debtors’ employee wages and compensation, customer
programs and refunds, benefits, reimbursable business expenses, certain taxes and
insurance, and certain critical vendors and lien claimants (such orders, collectively,
the “First-Day Orders”). Accordingly, the scheduled claims are intended to reflect
sums due and owing before the Petition Date for which the Debtors did not obtain relief
from the Bankruptcy Court to satisfy. The estimate of claims set forth in the Schedules,
however, may not reflect assertions by the Debtors’ creditors of a right to have such
claims paid or reclassified under the Bankruptcy Code or orders of the Bankruptcy
Court.

Liens. The inclusion on Schedule D of creditors that have asserted liens against the
Debtors is not an acknowledgement of the validity, extent, or priority of any such liens,
and, except as otherwise agreed to in accordance with a stipulation or order entered by
the Bankruptcy Court, the Debtors reserve their right to challenge such liens and the
underlying claims on any ground whatsoever. Reference to the applicable agreements
and other relevant documents is necessary for a complete description of the collateral
and the nature, extent, and priority of any liens. Nothing in these Global Notes or the
Schedules and Statements shall be deemed a modification or interpretation of the terms
of such agreements. Certain liens may have been inadvertently marked as disputed but
had previously been acknowledged in an order of the Court as not being disputed by
the Debtors. It is not the Debtors’ intent that Schedules be construed to supersede any
orders entered by the Bankruptcy Court.



                                               6
19-10384-shl    Doc 261    Filed 03/26/19     Entered 03/26/19 19:30:16      Main Document
                                            Pg 7 of 24


To the extent the value of the collateral securing a claim listed on Schedule D is
insufficient to satisfy the full amount such claim, the holder of such undersecured claim
will have an unsecured deficiency claim against the applicable Debtor for the remaining
amount. Such unsecured deficiency claims are not listed on Schedule E/F.

Leases. In the ordinary course of their businesses, the Debtors lease facilities and
equipment from certain third-party lessors for use in their daily operations. Any such
leases and equipment are set forth in Schedules A/B and G. Nothing in the Schedules
is or shall be construed as an admission or determination as to the legal status of any
lease (including whether any lease is a true lease or a financing arrangement), and the
Debtors reserve all rights with respect to any such issues.

Leasehold improvements listed in Schedule A/B may become property of the landlord
upon termination of the lease.

Intellectual Property Rights. Exclusion of certain intellectual property shall not be
construed to be an admission that those intellectual property rights have been sold,
abandoned, or terminated, or otherwise have expired by their terms, or have been
assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction.
Conversely, inclusion of certain intellectual property shall not be construed to be an
admission that those intellectual property rights have not been abandoned, have not
been terminated, or otherwise have not expired by their terms, or have not been
assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction.
Accordingly, the Debtors reserve all of their rights as to the legal status of all intellectual
property rights.

Setoff. Prior to the Petition Date, and in the ordinary course of their businesses, the
Debtors incurred setoffs in connection with, among other things, intercompany and
third-party transactions. Unless otherwise stated, certain setoffs that were incurred in
the ordinary course or under customary practices are not listed in the Schedules and
Statements and the Debtors have not intentionally offset amounts listed on Schedules
A/B, D, or E/F. Nonetheless, some amounts listed may have been affected by setoffs of
which the Debtors are not yet aware. The Debtors reserve all rights to challenge any
setoff and/or recoupment rights that may be asserted.

Guarantees and Other Secondary Liability Claims. The Debtors have used their
reasonable best efforts to locate and identify guarantees and other secondary liability
claims (collectively, “Guarantees”) in each of their executory contracts, unexpired
leases, secured financings, debt instruments, and other such agreements. Where such
Guarantees have been identified, they have been included in the relevant Schedule for
the Debtor or Debtors affected by such Guarantees. The Debtors have placed Guaranty
obligations on Schedule H for both the primary obligor and the guarantor of the
relevant obligation. Such Guarantees were also placed on Schedule D or E/F for each
guarantor, except to the extent that such Guarantee is associated with obligations under
an executory contract or unexpired lease identified on Schedule G. Further, it is
possible that certain Guarantees embedded in the Debtors’ executory contracts,
unexpired leases, secured financings, debt instruments, and other such agreements may
have been inadvertently omitted. Thus, the Debtors reserve their rights to amend the
Schedules and Statements to the extent that additional Guarantees are identified. In

                                               7
19-10384-shl   Doc 261    Filed 03/26/19     Entered 03/26/19 19:30:16   Main Document
                                           Pg 8 of 24


addition, the Debtors reserve the right to amend the Schedules and Statements to
recharacterize or reclassify any such contract or claim.

Payments. The financial affairs and businesses of the Debtors are complex. Before the
Petition Date, the Debtors and certain of their non-Debtor affiliates participated in a
consolidated cash management system through which certain payments were made by
one entity on behalf of another. As a result, certain payments reported in the
Statements may have been made prepetition by one Debtor entity on behalf of another
Debtor entity through the operation of the consolidated cash management system. A
description of the Debtors’ prepetition cash management system is set forth in the
Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Continued Use of
Existing Cash Management System, Bank Accounts, and Business Forms and Payment of
Related Prepetition Obligations; (II) Modifying Certain Deposit Requirements; and
(III) Authorizing Continuance of Intercompany Transactions and Honoring Certain Related
Prepetition Obligations [Docket No. 9] (the “Cash Management Motion”).

Insiders. For purposes of their responses to Statement Questions 28 and 29, the
Debtors have listed their respective officers and directors for each individual Debtor
entity to the extent available based on current records. For purposes of Statement
Question 4, the Debtors have included the following as “insiders”: (a) all members of
the board of directors of the Debtors; (b) six of the Debtors’ senior executives; and
(c) certain Debtor affiliates of each Debtor (representing either the direct parent or
direct subsidiary—to the extent such affiliate is also a Debtor). In the ordinary course
of the Debtors’ businesses, directors and officers of one Debtor may have been
employed and paid by another Debtor or a non-Debtor affiliate.

!Persons listed as “insiders” have been included for informational purposes only. The
Debtors do not take any position with respect to: (a) such person’s influence over the
control of the Debtors; (b) the management responsibilities or functions of such
individual; (c) the decision-making or corporate authority of such individual; or
(d) whether such individual could successfully argue that he or she is not an “insider”
under applicable law, including the federal securities laws, or with respect to any
theories of liability or for any other purpose.

Signatory. The Schedules and Statements have been signed by David F. Smith III, in
his capacity as Chief Financial Officer of the Debtors. In reviewing and signing the
Schedules and Statements, Mr. Smith has necessarily relied upon the efforts,
statements, and representations of various of the Debtors’ personnel and professionals.
Mr. Smith has not (and could not have) personally verified the accuracy of each such
statement and representation, including statements and representations concerning
amounts owed to creditors and their addresses.

Limitation of Liability. The Debtors and their officers, employees, agents, attorneys,
and financial advisors do not guarantee or warrant the accuracy, completeness, or
currentness of the data that is provided herein and shall not be liable for any loss or
injury arising out of or caused, in whole or in part, by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained herein. In no event
shall the Debtors or their officers, employees, agents, attorneys, and financial advisors

                                              8
19-10384-shl   Doc 261     Filed 03/26/19     Entered 03/26/19 19:30:16     Main Document
                                            Pg 9 of 24


be liable to any third party for any direct, indirect, incidental, consequential, or special
damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or
lost profits), whether foreseeable or not and however caused.

      In addition to the foregoing, the following conventions were adopted by the
Debtors in the preparation of the Schedules and Statements:

                        Schedules of Assets and Liabilities
Schedule A/B Notes.

   •   General. Each Debtor’s assets in Schedule A/B are listed at net book value based
       on the Debtors’ reasonable best efforts as of January 31, 2019, unless otherwise
       noted, and may not necessarily reflect the market or recoverable value of these
       assets as of the Petition Date. As of the date of these filings, the Debtors are still
       in the process of completing the audit of their books and records as of
       December 31, 2018, as well as finalizing their records as of the Petition Date. As
       such, the balances presented in Schedule A/B are subject to further revision and
       change.

   •   Deposits, Including Security Deposits and Utility Deposits (AB7). The current
       value of each Debtor’s interest in deposits is provided as of January 31, 2019.

   •   Prepayments, Including Prepayments on Executory Contracts, Leases, Insurance,
       Taxes, and Rent (AB8). The current value of each Debtor’s interest in
       prepayments is provided as of January 31, 2019.

   •   Accounts Receivable (AB11). The current value of each Debtor’s interest in
       accounts receivable is provided as of January 31, 2019.

   •   Non-Publicly Traded Stock and Interests in Incorporated and Unincorporated
       Businesses, Including Any Interest in an LLC, Partnership, or Joint Venture
       (AB15). The value of the Debtors’ ownership interests in subsidiaries and other
       affiliates have been identified in AB15 in an undetermined amount because the
       fair market value of such ownership interest is dependent on numerous variables
       and factors that may cause their fair market value to differ materially from their
       net book value.

   •   Inventory, Excluding Agriculture Assets (AB19–26). The current value of each
       Debtor’s interest in inventory is provided as of January 31, 2019.

   •   Inventory Purchased Within 20 Days Before Petition Date (AB25). The Debtors
       purchased inventory and supplies on a regular basis, and the Debtors continued
       to make purchases within the 20 days prior to the Petition Date. However, given
       the number of Debtors and the complexity of their businesses, it would be
       unduly burdensome to obtain and verify a list of all purchases made within 20


                                               9
19-10384-shl   Doc 261    Filed 03/26/19 Entered 03/26/19 19:30:16        Main Document
                                        Pg 10 of 24


       days of their respective Petition Date. As such, the Debtors have not determined
       the value of inventory purchases within 20 days of the filing.

   •   Office Furniture, Fixtures, and Equipment (AB39–41). The current value of each
       Debtor’s interest in office furniture, fixtures, and equipment is provided as of
       January 31, 2019.

   •   Business Licenses (AB62). The Debtors have listed all known business licenses
       for each Debtor. Any omissions were due to system limitations or inadvertent
       error. Under the Bankruptcy Code, any omitted business licenses are not
       impaired by omission. The Schedules may be amended at any time to add any
       omitted business licenses.

   •   Tax Refunds and Net Operating Losses (AB72). Certain Debtors have
       accumulated significant net operating loss (“NOL”) carryforwards and other tax
       credit carryovers for United States federal and state income tax purposes.
       However, as of the Petition Date, the estimated value of these NOLs is unknown.

Schedule D Notes.

   •   Creditors’ claims on Schedule D arose, or were incurred, on various dates. In
       certain instances, the date on which such claim arose is an open issue of fact.

   •   Except as otherwise agreed in accordance with a stipulation and order entered by
       the Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the
       validity, perfection, or immunity from avoidance of any lien listed on Schedule D
       purported to be granted to a secured creditor or perfected in any specific asset.

   •   Moreover, although the Debtors may have scheduled claims of various creditors
       as secured claims, the Debtors reserve all rights, except as otherwise agreed to in
       accordance with a stipulation and order entered by the Bankruptcy Court, to
       dispute or challenge the secured nature of any creditor’s claim or the
       characterization of the structure of any transaction or any document or
       instrument (including, without limitation, any intercompany agreement) related
       to such creditor’s claim.

   •   In certain instances, a Debtor may be a co-obligor or guarantor with respect to
       scheduled claims of other Debtors, and no claim scheduled on Schedule D is
       intended to acknowledge claims of creditors that are otherwise satisfied or
       discharged by other Debtors or other entities.

   •   The Debtors have not included on Schedule D parties that may believe their
       claims are secured through setoff rights or inchoate statutory lien rights.
       Although there are multiple parties that hold a portion of the debt included in
       the Debtors’ prepetition secured credit facilities, only the administrative agents
       have been listed for purposes of Schedule D. The amounts outstanding under



                                            10
19-10384-shl   Doc 261    Filed 03/26/19 Entered 03/26/19 19:30:16         Main Document
                                        Pg 11 of 24


       the Debtors’ prepetition secured credit facilities reflect approximate amounts as
       of the Petition Date.

   •   The descriptions provided on Schedule D are intended only as a summary.
       Reference to the applicable loan agreements and related documents is necessary
       for a complete description of the collateral and the nature, extent, and priority of
       any liens. Nothing in these Global Notes or in the Schedules and Statements
       shall be deemed a modification or interpretation of the terms of such agreements
       or related documents.

   •   To the extent the value of the collateral securing a claim listed on Schedule D is
       insufficient to satisfy the full amount such claim, the holder of such
       undersecured claim will have an unsecured deficiency claim against the
       applicable Debtor for the remaining amount. Such unsecured deficiency claims
       are not listed on Schedule E/F.

Schedule E/F Notes.

   •   The Debtors have made reasonable efforts to report all priority and general
       unsecured claims against the Debtors on Schedule E/F based on the Debtors’
       books and records as of the Petition Date. However, the actual amount of claims
       against the Debtors may vary significantly from the represented liabilities.
       Parties in interest should not accept that the listed liabilities necessarily reflect
       the correct amount of any unsecured creditor’s allowed claims or the correct
       amount of all unsecured claims. Similarly, parties in interest should not
       anticipate that recoveries in these cases will reflect the relationship of the
       aggregate asset values and aggregate liabilities set forth in the Schedules. Parties
       in interest should consult their own professionals and advisors with respect to
       pursuing a claim. Actual liabilities (and assets) may deviate significantly from
       the Schedules due to certain events that occur throughout these Chapter 11
       Cases.

   •   The claims listed on Schedule E/F arose or were incurred on various dates. In
       certain instances, the date on which a claim arose may be unknown or subject to
       dispute. Although reasonable efforts have been made to determine the date
       upon which claims listed on Schedule E/F were incurred or arose, fixing that
       date for each claim on Schedule E/F would be unduly burdensome and cost-
       prohibitive and, therefore, the Debtors have not listed a date for each claim listed
       on Schedule E/F.

   •   Certain tax claims are, or may in the future be, subject to audit, and the Debtors
       are unable to determine with certainty the amount of certain tax claims listed on
       Schedule E/F. Therefore, the Debtors have listed such claims as “Unliquidated”
       in amount, pending final resolution of any ongoing or future audits or
       outstanding issues. In addition, there may be other contingent, unliquidated
       claims from state and local taxing authorities, not all of which are listed.




                                            11
19-10384-shl   Doc 261     Filed 03/26/19 Entered 03/26/19 19:30:16        Main Document
                                         Pg 12 of 24


   •   The Bankruptcy Court has approved the payment of certain unsecured employee
       claims against the Debtors including, without limitation, certain claims of
       employees for wages, salaries, and benefits including paid time off (“PTO”).
       Due to confidentiality concerns, the Debtors have suppressed the addresses of
       the employee claimants listed on Schedule E/F. Additionally, due to system
       limitations and resource constraints within the Debtors’ human resource
       functions, the Debtors are unable at this time to accurately present accrued but
       unpaid remaining PTO as of the Petition Date and have excluded such claims in
       the presentation of Schedule E/F. In general, all other employee claims for items
       that were not clearly authorized to be paid by the Bankruptcy Court have been
       included in the Schedules and Statements.

   •   The listing of any priority claim on Schedule E/F does not constitute an
       admission by the Debtors that such claim is entitled to priority treatment under
       section 507 of the Bankruptcy Code. The Debtors reserve the right to take the
       position that any claim listed on Schedule E/F is not entitled to priority.

   •   The Bankruptcy Court approved the payment of certain non-priority unsecured
       claims against the Debtors including, without limitation, claims of critical
       vendors and lien claimants. While the Debtors have made every effort to reflect
       the current obligations on Schedule E/F, certain payments made, and certain
       invoices received, after the Petition Date may not be accounted for in Schedule
       E/F.

   •   Schedule E/F also contains the information available to the Debtors at this time
       regarding pending litigation involving the Debtors. The inclusion of any legal
       action in the Schedules and Statements does not constitute an admission by the
       Debtors of any liability, the validity of any litigation, the amount of any potential
       claim that may result with respect to any legal action, or the amount and
       treatment of any potential claim resulting from any legal action currently
       pending or that may arise in the future.

   •   The information regarding litigation involving the Debtors includes medical
       malpractice lawsuits. All asserted or potential medical malpractice claims
       reference in Schedule E/F are contingent, unliquidated, and disputed. Specific
       disclosure regarding asserted or potential medical malpractice claims may be
       subject to certain disclosure restrictions contained in HIPAA and, in any event,
       are of a peculiarly personal and private nature. The Debtors continue to research
       any possible HIPAA or other restrictions with respect to disclosure of asserted or
       potential malpractice claims. The Debtors will amend or supplement these
       Schedules and Statements as necessary or appropriate in this regard. The
       Debtors also intend to petition the Court for separate notice procedures with
       regard to providing notice to medical malpractice claimants of these Chapter 11
       Cases and any bar dates.

   •   Schedule E/F does not include certain deferred liabilities, accruals, or general
       reserves. Such amounts are general estimates and do not represent specific
       claims as of the Petition Date for each respective Debtor.

                                             12
19-10384-shl   Doc 261    Filed 03/26/19 Entered 03/26/19 19:30:16        Main Document
                                        Pg 13 of 24


   •   In the ordinary course of business, the Debtors generally receive invoices for
       goods and services after the delivery of such goods or services. As of the filing of
       the Schedules and Statements, the Debtors had not received all invoices for
       payables, expenses, or liabilities that may have accrued before the Petition Date.
       Accordingly, the information contained in Schedules E/F may be incomplete.
       The Debtors reserve the right, but are not required, to amend Schedules E/F if
       and as they receive such invoices. The claims of individual creditors are
       generally listed at the amounts recorded on the Debtors’ books and records and
       may not reflect credits or allowances due from the creditor. The Debtors reserve
       all of their rights concerning credits or allowances.

   •   As part of the Debtors’ normal business operations, overpayments from
       customers, patients, and insurance companies are recorded from time to time.
       The unreconciled amount of such overpayments as recorded in the Debtors’
       accounting records are approximations because reconciling and determining the
       exact amount payable with respect to such overpayments is a time-consuming
       manual process. Generally, the Debtors only calculate the exact amount of the
       customer, patient, and insurance company overpayments if and when the payor
       requests a refund. The number of customers, patients, or insurance companies
       that will ultimately be entitled to a refund is not possible to know at this time.
       Thus, out of an abundance of caution, the Debtors have scheduled all customer,
       patient, and insurance company overpayments they are currently aware of as
       contingent and unliquidated claims in “Undetermined” or “Unknown” amounts.
       Consistent with the Privacy Procedures Order and HIPAA disclosure
       restrictions, the names of current or former patients with potential overpayment
       claims are listed by a code number such as “Patient 1,” “Patient 2,” and so forth.

   •   The Debtors are continuing to work with their insurance broker and insurance
       carriers to obtain contact information for plaintiffs in certain pending claims and
       litigations involving the Debtors. To the extent the Debtors are able to obtain
       such additional information, the Debtors will file an amendment to the
       Statements incorporating such information.

   •   To the extent the value of the collateral securing a claim listed on Schedule D is
       insufficient to satisfy the full amount such claim, the holder of such
       undersecured claim will have an unsecured deficiency claim against the
       applicable Debtor for the remaining amount. Such unsecured deficiency claims
       are not listed on Schedule E/F.

Schedule G Notes.

   •   The Debtors hereby reserve all rights to dispute the validity, status, or
       enforceability of any contracts, agreements, or leases set forth in Schedule G and
       to amend or supplement Schedule G as necessary. Additionally, the placing of a
       contract or lease onto Schedule G shall not be deemed an admission that such
       contract is an executory contract or unexpired lease, or that it is necessarily a
       binding, valid, and enforceable contract. Any and all of the Debtors’ rights,
       claims, and causes of action with respect to the contracts and agreements listed

                                            13
19-10384-shl   Doc 261    Filed 03/26/19 Entered 03/26/19 19:30:16        Main Document
                                        Pg 14 of 24


       on Schedule G are hereby reserved and preserved. In addition, the Debtors are
       continuing their review of all relevant documents and expressly reserve their
       right to amend all Schedules at a later time as necessary and/or to challenge the
       classification of any agreement as an executory contract or unexpired lease in any
       appropriate filing.

   •   The same supplier or provider may appear multiple times in Schedule G. This
       multiple listing is intended to reflect distinct agreements between the applicable
       Debtor and such supplier or provider.

   •   Omission of a contract or agreement from Schedule G does not constitute an
       admission that such omitted contract or agreement is not an executory contract
       or unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect
       to any such omitted contracts or agreements are not impaired by the omission.
       Schedule G may be amended at any time to add any omitted contract or
       agreement.

   •   The contracts, agreements, and leases listed on Schedule G may have expired or
       may have been rejected, terminated, assigned, modified, amended, and/or
       supplemented from time to time by various amendments, change orders,
       restatements, waivers, estoppel certificates, letters, and other documents,
       instruments, and agreements that may not be listed therein or that may be listed
       as a single entry. The Debtors expressly reserve their rights to challenge whether
       such related materials constitute an executory contract, a single contract or
       agreement, or multiple, severable, or separate contracts.

   •   Certain of the real property leases listed on Schedule G may contain renewal
       options, guarantees of payment, options to purchase, rights of first refusal, rights
       to lease additional space, and other miscellaneous rights. Such rights, powers,
       duties, and obligations are not set forth on Schedule G. Certain of the
       agreements listed on Schedule G may be in the nature of conditional sales
       agreements or secured financings, and their inclusion on Schedule G is not an
       admission that the agreement is an executory contract, financing agreement, or
       otherwise.

   •   Certain of the contracts, agreements, and leases listed on Schedule G may have
       been entered into by more than one of the Debtors. Further, in certain instances,
       the specific Debtor obligor to an executory contract could not be ascertained. In
       such cases, the Debtors have made their best efforts to determine the correct
       Debtor’s Schedule G on which to list such executory contract.

Schedule H Notes.

   •   In the ordinary course of their businesses, the Debtors may be involved in
       pending or threatened litigation and claims. These matters may involve multiple
       plaintiffs and defendants, some or all of which may assert cross-claims and
       counterclaims against other parties. Because all such claims are “contingent,”


                                            14
19-10384-shl   Doc 261    Filed 03/26/19 Entered 03/26/19 19:30:16         Main Document
                                        Pg 15 of 24


       “unliquidated,” or “disputed,” such claims have not been set forth individually
       on Schedule H.

   •   Although there are multiple parties that hold a portion of the debt included in
       the Debtors’ prepetition secured credit facilities and unsecured notes, only the
       administrative agents and indenture trustees, as applicable, have been listed for
       purposes of Schedule H.

                           Statement of Financial Affairs
Statement Question 1 – Income from Operations. Gross revenue before deductions
and exclusions is provided as of January 31, 2019.

Statement Questions 3 and 4 – 90-Day Payments and Payments to Insiders. For the
Debtors, cash is treated as fungible. Cash is often transferred between Debtor accounts
and disbursements are made out of Debtor bank accounts on behalf of other Debtors.
The Debtor for which a disbursement is booked on the financials is not always the same
Debtor on the bank account from which a disbursement is paid. Therefore, the
disbursements listed in Statement Questions 3 and 4 are not listed by the Debtor for
which a disbursement was booked, but rather by the Debtor from whose bank account
the disbursement was paid. Refer to Global Note “Insiders” for further detail on
Statement Question 4.

Statement Question 7 – Legal Actions. The Debtors have made reasonable best efforts
to identify all current pending litigation involving the Debtors. However, certain
omissions may have occurred. The inclusion of any legal action in this question does
not constitute an admission by the Debtors of any liability, the validity of any litigation,
the amount of any potential claim that may result with respect to any legal action, or the
amount and treatment of any potential claim resulting from any legal action currently
pending or that may arise in the future.

The Debtors are continuing to work with their insurance broker and insurance carriers
to obtain contact information for plaintiffs in certain pending litigations involving the
Debtors. To the extent the Debtors are able to obtain such additional information, the
Debtors will file an amendment to the Statements incorporating such information.

Statement Question 11 – Payments Related to Bankruptcy. During the year prior to
the Petition Date, the Debtors sought assistance from various professionals and have
included all payments made to those professionals, including those services unrelated
to the bankruptcy filing. Due to timing and resource limitations, the Debtors are unable
to effectively bifurcate payments solely related to debt restructuring and/or bankruptcy
for the one-year period prior to the Petition Date. As a result, the payments listed in
response to this question may include payments not related to debt restructuring
and/or bankruptcy for certain professionals listed.

Statement Question 17 – ERISA, 401(k), 403(b), Pension Funds. During the six years
prior to the Petition Date, the Debtors acquired numerous entities whose employees
participated in ERISA, 401(k), 403(b), or other pension or profit-sharing plans made
available by such entities as employee benefits (each, an “Employee Plan”).

                                            15
19-10384-shl   Doc 261   Filed 03/26/19 Entered 03/26/19 19:30:16      Main Document
                                       Pg 16 of 24


Accordingly, although the Debtors have included all Employee Plans they currently
maintain in Statement Question 17, certain discontinued Employee Plans may have
been omitted.

Statement Question 25 – Businesses in Which the Debtors Have an Interest. Given
the complexities of the organizational structure of the Debtors, for purposes of
Statement Question 25, the Debtors have listed only the direct subsidiaries of each
Debtor entity.

Statement Question 26d – Recipients of Financial Statements. The Debtors did not
maintain detailed records of the numerous financial institutions, creditors, and other
parties to whom they have provided financial statements in the ordinary course of
business within two years immediately before the Petition Date. Although the Debtors
have made reasonable efforts to identify all such recipients, there may be inadvertent
errors or omissions for Statement Question 26d.

Statement Question 28 and 29 – Current and Former Officer and Directors. The
Debtors have made reasonable best efforts to list the known current and former officers
and directors for each Debtor entity based on a review of existing books and records
and other available information that may not be complete and updated as of the
Petition Date. As such, there may be inadvertent errors or omissions for Statement
Questions 28 and 29 due to these limitations. See Global Note “Insiders” for further
detail.

Statement Question 30 – Payments, Distributions, or Withdrawals to Insiders. Refer
to Statement Question 4 for this item.




                                          16
          19-10384-shl
Fill in this                    Doc
             information to identify the261
                                         case:      Filed 03/26/19 Entered 03/26/19 19:30:16                                 Main Document
                                                                  Pg 17 of 24
Debtor        TRIDENT HOLDING COMPANY, LLC


United States Bankruptcy Court for the:


Case number        19-10384
 (if known)
                                                                                                                                        ¨ Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income

  1. Gross revenue from business
      þ None

  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
      þ None


 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers¾including expense reimbursements¾to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted
     on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
      þ None


  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).
      þ None

  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
      þ None

  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
     account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
     debtor owed a debt.
      þ None


 Part 3:        Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
     involved in any capacity-within 1 year before filing this case.
      ¨ None




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     Page 1 of 8
Debtor     19-10384-shl       Doc 261
            TRIDENT HOLDING COMPANY, LLC         Filed 03/26/19 Entered Case
                                                                           03/26/19       19:30:16
                                                                              number (if known) 19-10384 Main Document
           (Name)                                              Pg 18 of 24
           Case title                              Nature of case                       Court or agency’s name and address          Status of case

           REDACTED, INDIVIDUALLY AND AS           RADIOLOGIST ALLEGEDLY                DISTRICT COURT OF HARRIS                    þ Pending
           PERSONAL REPRESENTATIVE OF              MISREAD FILMS                        COUNTY, TX                                  ¨ On appeal
           THE ESTATE OF PATIENT 34016 VS                                               C/O ALLAN BRAIN                             ¨ Concluded
           BUCKINGHAM SENIOR LIVING
           COMMUNITY, INC., SENIOR
           QUALITY LIFESTYLES
           CORPORATION,
           Case number
           CAUSE NO. 2018-21464 / COURT
           NO. 152



           THE ESTATE OF PATIENT 340213,           PLAINTIFF ALLEGES MISREAD            COMMONWEALTH OF KENTUCKY                    þ Pending
           BY AND THROUGH REDACTED,                XRAY; PATIENT DIED                   CABINET FOR HEALTH AND FAMILY               ¨ On appeal
           ADMINISTRATOR V. SYMPHONY                                                    SERVICE MEDICAL REVIEW PANEL                ¨ Concluded
           DIAGNOSTIC SERVICES NO. 1, LLC                                               BRANCH
           DBA MOBILEXUSA AND MOBILEX                                                   C/O FREDERICK LAW FIRM
           USA.                                                                         ATTN: CARL D FREDERICK
                                                                                        161 CHENOWETH LN
           Case number
                                                                                        LOUISVILLE, KY 40207
           CASE NO. MRP-2018-0119



 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
    hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     þ None


 Part 4:     Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
    value of the gifts to that recipient is less than $1,000
     þ None


 Part 5:     Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     þ None


 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
     filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
     bankruptcy relief, or filing a bankruptcy case.
     þ None

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
     case to a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     þ None

 13. Transfers not already listed on this statement
     List any transfers of money or other property¾by sale, trade, or any other means¾made by the debtor or a person acting on behalf of the
     debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
     financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
     þ None


 Part 7:     Previous Locations




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 2 of 8
Debtor     19-10384-shl       Doc 261
            TRIDENT HOLDING COMPANY, LLC           Filed 03/26/19 Entered Case
                                                                             03/26/19       19:30:16
                                                                                number (if known) 19-10384 Main Document
            (Name)                                               Pg 19 of 24
 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     þ Does not apply


 Part 8:      Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
     ¾ diagnosing or treating injury, deformity, or disease, or
     ¾ providing any surgical, psychiatric, drug treatment, or obstetric care?
     þ No. Go to Part 9.


 Part 9:      Personal Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
     þ No.
     ¨ Yes. State the nature of the information collected and retained.

 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?
     ¨ No. Go to Part 10.
     þ Yes. Does the debtor serve as plan administrator?
                ¨ No. Go to Part 10.
                þ Yes. Fill in below:

                     Name of plan                                                                          Employer identification number of the plan

                     TRIDENT HOLDING COMPANY, LLC 401(K) PLAN                                              XX-XXXXXXX

                     Has the plan been terminated?
                     þ No
                     ¨ Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
     sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
     houses, cooperatives, associations, and other financial institutions.
     þ None

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing
     this case.
     þ None

 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
     in which the debtor does business.
     þ None


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.
    þ None


 Part 12:     Details About Environmental Information




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        Page 3 of 8
Debtor   19-10384-shl       Doc 261
          TRIDENT HOLDING COMPANY, LLC              Filed 03/26/19 Entered Case
                                                                              03/26/19       19:30:16
                                                                                 number (if known) 19-10384 Main Document
            (Name)                                                Pg 20 of 24
 For the purpose of Part 12, the following definitions apply:
 n Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
    regardless of the medium affected (air, land, water, or any other medium).
 n Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the
    debtor formerly owned, operated, or utilized.
 n Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant,
    contaminant, or a similarly harmful substance.
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     þ No
     ¨ Yes. Provide details below.

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
     þ No
     ¨ Yes. Provide details below.

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     þ No
     ¨ Yes. Provide details below.


 Part 13:     Details About the Debtor’s Business or Connections to Any Business

 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     þ None

 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              ¨ None

                Name and address                                                                      Dates of service

                DAVID SMITH                                                                           From 3/2017          To CURRENT
                C/O TRIDENT HOLDING COMPANY, LLC
                930 RIDGEBROOK ROAD
                3RD FLOOR
                SPARKS, MD 21152
                J. MICHAEL YOUNG                                                                      From JUNE 2010 To CURRENT
                C/O TRIDENT HOLDING COMPANY, LLC
                930 RIDGEBROOK ROAD
                3RD FLOOR
                SPARKS, MD 21152

     26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address                                                                      Dates of service

                RSM US LLP                                                                            From 2009              To CURRENT
                518 TOWNSHIP LINE RD
                BLUE BELL, PA 19422

     26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
              ¨ None

                Name and address                                                                      If any books of account and records are
                                                                                                      unavailable, explain why
                DAVID SMITH                                                                           CHIEF FINANCIAL OFFICER
                C/O TRIDENT HOLDING COMPANY, LLC
                930 RIDGEBROOK ROAD
                3RD FLOOR
                SPARKS, MD 21152




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 4 of 8
Debtor   19-10384-shl       Doc 261
          TRIDENT HOLDING COMPANY, LLC              Filed 03/26/19 Entered Case
                                                                              03/26/19       19:30:16
                                                                                 number (if known) 19-10384 Main Document
            (Name)                                                Pg 21 of 24
                Name and address                                                                        If any books of account and records are
                                                                                                        unavailable, explain why
                J. MICHAEL YOUNG                                                                        CORPORATE CONTROLLER
                C/O TRIDENT HOLDING COMPANY, LLC
                930 RIDGEBROOK ROAD
                3RD FLOOR
                SPARKS, MD 21152
                STEVE SHILLER                                                                           DIRECTOR OF FINANCIAL REPORTING
                C/O TRIDENT HOLDING COMPANY, LLC
                930 RIDGEBROOK ROAD
                3RD FLOOR
                SPARKS, MD 21152

     26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address

                ALEXANDER D GREENE
                5 TRIPP LANE
                AMONK, NY 10504
                ALVAREZ & MARSAL
                600 MADISON AVE 6TH FL
                NEW YORK, NY 10022
                ANKURA CONSULTING GROUP LLC
                PO BOX 74007043
                CHICAGO, IL 60674
                ARES CAPITAL CORPORATION
                245 PARK AVE, 44TH FLOOR
                NEW YORK, NY 10167
                ATLAS COPCO, LLC
                92 INTERSTATE DRIVE
                WEST SPRINGFIELD, MA 01089
                AUDAX
                101 HUNTINGTON AVENUE
                BOSTON, MA 02199
                CITIBANK, N.A.
                1615 BRETT ROAD
                NEW CASTLE, DE 19720
                CORTLAND CAPITAL MARKET SERVICES LLC
                225 W WASHINGTON ST
                9TH FL
                CHICAGO, IL 60606
                ELEMENT FLEET CORPORATION
                940 RIDGEBROOK RD
                SPARKS GLENCOE, MD 21152-9390
                FORMATION CAPITAL, LLC
                3820 MANSELL ROAD
                SUITE 280
                ALPHARETTA, GA 30022
                FRAZIER HEALTHCARE PARTNERS
                601 UNION STREET
                SUITE 3200
                SEATTLE, WA 98101
                FTI CONSULTING INC
                PO BOX 418005
                BOSTON, MA 02241-8005
                MERCHANTS AUTOMOTIVE GROUP
                P O BOX 414438
                BOSTON, MA 22414-438
                MOODY'S INVESTORS SERVICE, INC.
                7 WORLD TRADE CENTER
                250 GREENWICH STREET
                NEW YORK, NY 10007
                PJT PARTNERS LP
                280 PARK AVE 16TH FL
                NEW YORK, NY 10017




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 5 of 8
Debtor   19-10384-shl       Doc 261
          TRIDENT HOLDING COMPANY, LLC           Filed 03/26/19 Entered Case
                                                                           03/26/19       19:30:16
                                                                              number (if known) 19-10384 Main Document
          (Name)                                               Pg 22 of 24
              Name and address

              REVELSTOKE CAPITAL PARTNERS
              3033 1ST AVE.
              SUITE 501
              DENVER, CO 80206
              RSM US LLP
              FORMERLY MCGLADREY LLP
              331 EST 3RD STREET
              SUITE 200
              DAVENPORT, IA 52801
              S&P GLOBAL
              225 FRANKLIN STREET
              BOSTON, MA 02110
              SAFANAD, INC.
              505 FIFTH AVENUE
              FLOOR 24
              NEW YORK, NY 10017
              SILVERPOINT CAPITAL LP
              DBA SILVER POINT CAPITAL SERVICES LLC
              2 GREENWHICH PLAZA
              GREENWICH, CT 06830
              SKADDEN ARPS SLATE MEAGHER AND FLOM
              FOUR TIMES SQUARE
              NEW YORK, NY 10036
              TOP FLOOR CONSULTING, INC.
              DBA LEVERAGE ADVISORS
              7 GRASSMERE AVENUE
              WINCHESTER, MA 01890
              UNIVERSAL MEDICAL, INC.
              PO BOX 1829
              OLDSMAR, FL 34677
              WELLTOWER, INC.
              550 HERITAGE DRIVE
              JUPITER, FL 33458
              WHALE IMAGING, INC.
              300 SECOND AVE
              WALTHAM, MA 02451


              THE DEBTORS PROVIDED FINANCIAL STATEMENTS ON BEHALF OF ONE OR
              MORE DEBTORS TO THE PARTIES LISTED. IN ADDITION, IN THE ORDINARY
              COURSE OF BUSINESS, THE DEBTORS PROVIDE CERTAIN PARTIES SUCH
              AS FINANCIAL INSTITUTIONS, INVESTMENT BANKS, DEBTHOLDERS,
              AUDITORS, POTENTIAL INVESTORS, VENDORS, AND FINANCIAL ADVISORS,
              FINANCIAL STATEMENTS. THE DEBTORS DO NOT MAINTAIN COMPLETE
              LISTS TO TRACK SUCH DISCLOSURES.
              AS SUCH, THE DEBTORS HAVE NOT PROVIDED LISTS OF THESE PARTIES
              IN RESPONSE TO THIS QUESTION.

 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     þ None

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
     ¨ None

          Name                                Address                                           Position and nature of any   % of interest, if any
                                                                                                interest
          FC PIONEER HOLDING                  930 RIDGEBROOK ROAD                               PARENT                       100
          COMPANY, LLC                        3RD FLOOR
                                              SPARKS, MD 21152
          ANDREI SORAN                        C/O TRIDENT HOLDING COMPANY, LLC                  PRESIDENT                    NONE
                                              930 RIDGEBROOK ROAD
                                              3RD FLOOR
                                              SPARKS, MD 21152
          DAVID SMITH                         C/O TRIDENT HOLDING COMPANY, LLC                  CHIEF FINANCIAL OFFICER      NONE
                                              930 RIDGEBROOK ROAD
                                              3RD FLOOR
                                              SPARKS, MD 21152


Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 Page 6 of 8
Debtor   19-10384-shl       Doc 261
          TRIDENT HOLDING COMPANY, LLC           Filed 03/26/19 Entered Case
                                                                           03/26/19       19:30:16
                                                                              number (if known) 19-10384 Main Document
          (Name)                                               Pg 23 of 24
          Name                                Address                                            Position and nature of any       % of interest, if any
                                                                                                 interest
          THOMAS MCCAFFERY                    C/O TRIDENT HOLDING COMPANY, LLC                   GENERAL COUNSEL,                 NONE
                                              930 RIDGEBROOK ROAD                                ASSISTANT SECRETARY
                                              3RD FLOOR
                                              SPARKS, MD 21152
          SCOTT BROWN                         C/O TRIDENT HOLDING COMPANY, LLC                   VICE PRESIDENT,                  NONE
                                              930 RIDGEBROOK ROAD                                SECRETARY
                                              3RD FLOOR
                                              SPARKS, MD 21152

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
     control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     ¨ None

         Name                               Address                                       Position and nature of    Period during which position or
                                                                                          any interest              interest was held
         MARK PARRISH                       C/O TRIDENT HOLDING COMPANY,                  PRESIDENT                 From 11/19/2014 To 8/14/2018
                                            LLC
                                            930 RIDGEBROOK ROAD
                                            3RD FLOOR
                                            SPARKS, MD 21152

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     þ None

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ¨ None

          Name of the parent corporation                                                       Employer identification number of the parent
                                                                                               corporation.

          FC PIONEER, LLC                                                                      XX-XXXXXXX

          TRIDENT HOLDING COMPANY, LLC                                                         XX-XXXXXXX

 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     þ None




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 7 of 8
Debtor     19-10384-shl       Doc 261
            TRIDENT HOLDING COMPANY, LLC                  Filed 03/26/19 Entered Case
                                                                                    03/26/19       19:30:16
                                                                                       number (if known) 19-10384 Main Document
             (Name)                                                     Pg 24 of 24
 Part 14: Signature and Declaration

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
         by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.

         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
         information is true and correct.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on 3/26/2019.




         û     /s/ DAVID SMITH                                                        DAVID SMITH
            Signature of individual signing on behalf of the debtor                   Printed Name

              CHIEF FINANCIAL OFFICER
              Position or relationship to debtor




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         þ No
         ¨ Yes




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                      Page 8 of 8
